
44 So.3d 642 (2010)
Damontrio GLEE, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D10-1801.
District Court of Appeal of Florida, First District.
September 7, 2010.
Damontrio Glee, pro se, Petitioner.
Bill McCollum, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition seeking belated appeal is granted and Damontrio Glee is hereby afforded a belated appeal from his judgment and sentence in Duval County case numbers 2005-CF-5567 and 2005-CF-4840. Upon issuance of mandate in this cause, a copy of the opinion will be provided to the clerk of the circuit court who shall treat it as a notice of appeal. Fla. R.App. P. 9.141(c)(5)(D).
The trial court is directed to appoint counsel for petitioner in the appeal if he qualifies for such an appointment.
PETITION GRANTED.
DAVIS, BENTON, and CLARK, JJ., concur.
